Appellate Case: 22-1094         Document: 010110671275           Date Filed: 04/14/2022    Page: 1



                       UNITED STATES COURT OF APPEALS
                           FOR THE TENTH CIRCUIT

                                 DOCKETING STATEMENT




         Appeal Number           22-1094


           Case Name             Young, et al v. Frontier Airlines, Inc.


           Party or Parties      Jeffrey Bone, Kelli Capra, David Dickstein, Shirley Johnson,
      Filing Notice of Appeal    Stephanie Muters, Danielle Porreca, Chacha Powel, And Nelcy
             Or Petition         Alexa Rivera-De Leon


          Appellee(s) or         Frontier Airlines, Inc.
          Respondent(s)


   List all prior or related None
  appeals in this court with
   appropriate citation(s).


 I.       JURISDICTION OVER APPEAL OR PETITION FOR REVIEW
          A.     APPEAL FROM DISTRICT COURT
                 1.     Date final judgment or order to be reviewed was entered on the
                        district court docket: 9/14/2022
                 2.     Date notice of appeal was filed: 3/30/2022
                 3.     State the time limit for filing the notice of appeal (cite the specific
                        provision of Fed. R. App. P. 4 or other authority):
                        Fed. R. App. P. 4(a)(4)(A)(vi)
                        a.      Was the United States or an officer or an agency of the
                                United States a party below? No

                        b.      Was a motion filed for an extension of time to file the notice
Appellate Case: 22-1094   Document: 010110671275          Date Filed: 04/14/2022        Page: 2



                           of appeal? If so, give the filing date of the motion, the date of
                           any order disposing of the motion, and the deadline for filing
                           the notice of appeal: No

              4.    Tolling Motions. See Fed. R. App. P. 4(a)(4)(A); 4(b)(3)(A).
                    a.     Give the filing date of any motion that tolls the time to appeal
                           pursuant to Fed. R. App. P. 4(a)(4)(A) or 4(b)(3)(A):
                           10/11/2021

                    b.     Has an order been entered by the district court disposing of
                           any such motion, and, if so, when?
                           Yes on 3/1/2022

              5.    Is the order or judgment final (i.e. does it dispose of all claims by
                    and against all parties)? See 28 U.S.C. § 1291. Yes
                    (If your answer to Question 5 is no, please answer the following
                    questions in this section.)

                    a.     If not, did district court direct entry of judgment in
                           accordance with Fed. R. Civ. P. 54(b)? When was this done?


                    b.     If the judgment or order is not a final disposition, is it
                           appealable under 28 U.S.C. ' 1292(a)?
                    c.     If none of the above applies, what is the specific legal
                           authority for determining that the judgment or order is
                           appealable?
              6.    Cross Appeals.
                    a.     If this is a cross appeal, what relief do you seek beyond
                           preserving the judgment below? See United Fire & Cas. Co.
                           v. Boulder Plaza Residential, LLC, 633 F.3d 951, 958 (10th
                           Cir. 2011) (addressing jurisdictional validity of conditional
                           cross appeals).
                           Not applicable

                    b.     If you do not seek relief beyond an alternative basis for
                           affirmance, what is the jurisdictional basis for your appeal?
                           See Breakthrough Mgt. Group, Inc. v. Chukchansi Gold
                           Casino and Resort, 629 F.3d 1173, 1196-98 and n.18 (10th
                                             2
Appellate Case: 22-1094    Document: 010110671275           Date Filed: 04/14/2022      Page: 3



                            Cir. 2010) (discussing protective or conditional cross
                            appeals). Not applicable


       B.     REVIEW OF AGENCY ORDER (To be completed only in connection
              with petitions for review or applications for enforcement filed directly with
              the court of appeals.)

              1.     Date of the order to be reviewed:
              2.     Date petition for review was filed:
              3.     Specify the statute or other authority granting the Tenth Circuit
                     Court of Appeals jurisdiction to review the order:
              4.     Specify the time limit for filing the petition (cite specific statutory
                     section or other authority): ________________________________


       C.     APPEAL OF TAX COURT DECISION

              1.     Date of entry of decision appealed:
              2.     Date notice of appeal was filed:
                     (If notice was filed by mail, attach proof of postmark.)

              3.     State the time limit for filing notice of appeal (cite specific statutory
                     section or other authority):
              4.     Was a timely motion to vacate or revise a decision made under the
                     Tax Court’s Rules of Practice, and if so, when? See Fed. R. App. P.
                     13(a)




                                              3
Appellate Case: 22-1094    Document: 010110671275          Date Filed: 04/14/2022         Page: 4



 II.   ADDITIONAL INFORMATION IN CRIMINAL APPEALS.

       A.     Does this appeal involve review under 18 U.S.C. ' 3742(a) or (b) of the
              sentence imposed?
       B.     If the answer to A (immediately above) is yes, does the defendant also
              challenge the judgment of conviction?
       C.     Describe the sentence imposed.


       D.     Was the sentence imposed after a plea of guilty?
       E.     If the answer to D (immediately above) is yes, did the plea agreement
              include a waiver of appeal and/or collateral challenges?
       F.     Is the defendant on probation or at liberty pending appeal?
       G.     If the defendant is incarcerated, what is the anticipated release date if the
              judgment of conviction is fully executed?



       NOTE:         In the event expedited review is requested and a motion to that
                     effect is filed, the defendant shall consider whether a transcript
                     of any portion of the trial court proceedings is necessary for the
                     appeal. Necessary transcripts must be ordered by completing
                     and delivering the transcript order form to the Clerk of the
                     district court with a copy filed in the court of appeals.




                                              4
Appellate Case: 22-1094      Document: 010110671275            Date Filed: 04/14/2022       Page: 5



 III.   GIVE A BRIEF DESCRIPTION OF THE NATURE OF THE
        UNDERLYING CASE AND RESULT BELOW.
        The COVID-19 pandemic severely reduced the opportunity and ability to travel for
        many Americans, and, due to reduced flight demand, Frontier slashed flight schedules
        and canceled thousands of flights, to avoid incurring losses caused by operating flights
        well-below maximum capacity. Frontier’s contract of carriage provides that if Frontier
        cancels a flight, it shall “provide a refund for the unused portion of the passenger’s
        ticket.” Plaintiffs allege that instead of fulfilling its obligations to provide refunds,
        Frontier has provided only 90-day travel vouchers, which were worthless during the
        pandemic due to travel restrictions and limited flight capacity and routes. The named
        plaintiffs brings claims for breach of contract against Frontier on behalf of themselves
        and other passengers similarly situated. The Court granted Frontier's motion to dismiss
        under Fed. R. Civ. P. 12(b)(6) with prejudice and entered judgment on September 14,
        2021. Plaintiffs moved to alter the judgment, reopen the case, and file an amended
        complaint on October 11, 2021. The Court denied that motion on March 1, 2022.


 IV.    IDENTIFY TO THE BEST OF YOUR ABILITY AT THIS STAGE OF THE
        PROCEEDINGS, THE ISSUES TO BE RAISED IN THIS APPEAL. You
        must attempt to identify the issues even if you were not counsel below. See
        10th Cir. R. 3.4(B).
        (1) Whether the Court erred in granting Frontier's motion to dismiss and dismissing
        Plaintiffs' breach of contract claims with prejudice.
        (2) Whether the Court erred in denying Plaintiffs' motion to alter the judgment, reopen
        the case, and permit leave to amend




                                                5
Appellate Case: 22-1094   Document: 010110671275   Date Filed: 04/14/2022   Page: 6



 V.    ATTORNEY FILING DOCKETING STATEMENT:

       Name: _______________________________
             Shanon J. Carson                Telephone: 215-875-4656

       Firm: Berger Montague PC

       Email Address: scarson@bm.net

       Address: 1818 Market St.

        Ste. 3600

        Philadelphia, PA 19103



       _______________________________________
       s/ Shanon J. Carson                             _____________________
                                                       4/14/2022

       Signature                                       Date




                                        6
Appellate Case: 22-1094    Document: 010110671275        Date Filed: 04/14/2022        Page: 7



 NOTE:         The Docketing Statement must be filed with the Clerk via the court’s
               Electronic Case Filing System (ECF). Instructions and information
               regarding ECF can be found on the court’s website,
               www.ca10.uscourts.gov.
               The Docketing Statement must be accompanied by proof of service. The
               following Certificate of Service may be used.
                             CERTIFICATE OF SERVICE

       I, _______________________________________,
          Shanon J. Carson                         hereby certify that on
              [attorney for appellant/petitioner]
 4/14/2022                  , I served a copy of the foregoing Docketing Statement, to:
               [date]
 Kathryn A. Grace and Patrick J. Kearns           , at
       [counsel for/or appellee/respondent]
 Wilson Elser Moskowitz Edelman & Dicker LLP
 kathryn.grace@wilsonelser.com; patrick.kearns@wilsonelser.com

                                          , the last known address/email address, by
 electronic mail.                                                                          .
                            [state method of service]

                                          /s/ Shanon J. Carson
                                          Signature


                                          Date
                                          ___________________________________
                                          Berger Montague PC
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                                          1818 Market St.
                                          ___________________________________
                                          Ste. 3600
                                          ___________________________________
                                          Philadelphia, PA 19103
                                          Full name and address of attorney




                                              7
